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                        IN THE UNITED STATES DISTRICT COURT
                                                                                    -LEU
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                     **242008
                                       Alexandria Division

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                                                                                   -ALfiXWDRIA
UNITED STATES OF AMERICA                             )
                                                     )
               v.                                    )       Criminal Case No.


TERENCE SMALLS,                                      )


                      Defendant.                     )



 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT



I. Patrick A. Blake, after being duly sworn, depose and state:


       1.      I am a Special Agent of the United States Postal Service (USPS), Office of


Inspector General (OIG). I am currently assigned to the Capital Metro Area Field Office. I have


been employed in this position since August 2007.


       2.      My duties as a Special Agent with the USPS, OIG, include, but are not limited to,


conducting criminal investigations involving USPS employees. I have received training in


conducting criminal investigations from the Federal Law Enforcement Training Center. In


addition, prior to my employment with the USPS, OIG, I was employed as a Special Agent with


the United States Department of Treasury, Office of the Inspector General for approximately six


(6) years, where 1 was assigned to both the United States Secret Service Metro Area Fraud Task


Force and the Richmond Identity Theft Task Force.


       3.      This affidavit contains information in support of a criminal complaint and arrest


warrant for the defendant, Terence SMALLS, also known as Terence Bess, Terrance Bess,


Terrence Bess, Donell Parham, Donncll Parham, Donald Parman, Donncll Parman, Donell


Parmun, Darnell Pamam, Terrance Smalle, George Smalls, Terance George Smalls, Terence


Smalls, Terence George Smalls, Terrance Smalls, Terrence Smalls, and Terrence George Smalls
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(hereinafter, "SMALLS"), who is further described as: DOB xx/xx/1966; SSN xxx-xx-2070; FBI

number xxxxxxAA7.


       4.      The complaint charges the defendant with knowingly and willfully making a


materially false, fictitious, and fraudulent statement and representation in a matter within the

jurisdiction of the executive branch of the Government of the United States, in violation of Title


18, United States Code, Section 1001(a)(2).


       5.      The facts and information contained in this affidavit are based on personal


knowledge, as well as observations of other agents and officers involved in this investigation.


This affidavit contains information necessary to support probable cause and is not intended to


include each and every fact and matter observed by or known to the government.


       6.      On or about October 27, 2007, SMALLS submitted an application for a position


with the USPS, PS Form 2591 (Application for Employment). SMALLS signed at the end of the


form next to the statement "I certify that all of the statements made in this application are true,


complete, and correct to the best of my knowledge and belief and are in good faith." In addition,

at the USPS Human Resources department, located in Fairfax County, VA, at 8409 Lee


Highway, Merrifield, VA 22081, in the presence of a USPS Human Resources officer, SMALLS


reviewed the form for accuracy and signed his initials next to his answer of "No" in response to


question 7(a), which asked:


            Have you ever been convicted of a crime or are you now under charges for
            any offense against the Law? You may omit: (1) any charges that were
            dismissed or resulted in acquittal; (2) any conviction that has been set
            aside, vacated, annulled, expunged, or sealed; (3) any offense that was
            finally adjudicated in juvenile court or juvenile delinquency proceeding;
            and (4) any charges that resulted only in a conviction of a non-criminal
            offense. All felony and misdemeanor convictions and all convictions in
            state and federal courts are criminal convictions and must be disclosed.
            Disclosure of such convictions is required even if you did not spend any
            time in jail and/or were not required to pay a fine.
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       7.        On or about November 26,2007, SMALLS submitted PS Form 61 (Appointment


Affidavit) in the presence of an USPS officer and answered "No" in response to question 6(a),

which asked:


              Since you filed application for this employment, have you ... been
              convicted of an offense against the law or forfeited collateral, or are you
              now under charges for any offense against the law? You may omit (1)
              traffic violations for which you paid a fine of $30.00 or less; and (2) any
              offense finally adjudicated in a juvenile court.


SMALLS initialed next to the statement "APPOINTEE REVIEW AND CERTIFCATION

THAT ABOVE INFORMATION IS CORRECT."


       8.        On or about January 25,2008, SMALLS submitted another PS Form 2591


(Application for Employment). SMALLS signed at the end of the form next to the statement "I


certify that all of the statements made in this application are true, complete, and correct to the


best of my knowledge and belief and are in good faith." In addition, at the USPS Human


Resources department, located in Fairfax County, VA, at 8409 Lee Highway, Merrifield, VA

22081, in the presence of a USPS Human Resources officer, SMALLS again reviewed the form


for accuracy and signed his initials next to his answer of "No" in response to question 7(a).

       9.        This investigation has revealed that SMALLS has been convicted of several


felonies. In particular, on or about July 5,1994, the Superior Court of the District of Columbia

convicted SMALLS, under his alias "Terrence Bess," for attempting to possess with the intent to

distribute cocaine and sentenced him to four to twelve years of imprisonment.

        10.      On or about February 29, 2008, SMALLS was interviewed regarding allegations


that he made false statements to the USPS. When questioned about question 7(a) on his PS Form

2591 (Application for Employment), SMALLS admitted that he read and understood the

question and that he intentionally falsified his answer when he checked the "No" box. SMALLS
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stated that checking the "No" box was a false statement because he knew of his past felony


convictions.


       11.     In addition, on or about February 29, 2008, SMALLS provided a written


statement to the USPS stating that "1 went to the court and 1 was told that there was no record of


what I had done so I thought that it would not show up." SMALLS's written statement also


stated that "on or about 1994 I was sentence to 4-12 years for distribution" and that between


1991 and 2000, "I was or used Terence Bess."


       12.     Based on the above-mentioned information, there is probable cause to believe that


on or about October 27, 2007, and on or about January 25, 2008, within the Eastern District of


Virginia, the defendant Terence SMALLS knowingly and willfully made a materially false,


fictitious, and fraudulent statement and representation in a matter within the jurisdiction of the


executive branch of the Government of the United States, in violation of Title 18, United States


Code, Section 1001{a)(2).




                                                          A. Blake
                                                  Special Agent
                                                  United States Postal Service
                                                  Office of the Inspector General




Subscribed to and sworn before me this
24th of April 2008.




      John F. Anderson
 United States Magistrate Judge



Alexandria, Virginia
